Case 4:17-cv-00541-GKF-FHM Document 2-1 Filed in USDC ND/OK on 09/25/17 Page 1 of 6




                                    EXHIBIT 1
Case 4:17-cv-00541-GKF-FHM Document 2-1 Filed in USDC ND/OK on 09/25/17 Page 2 of 6
Case 4:17-cv-00541-GKF-FHM Document 2-1 Filed in USDC ND/OK on 09/25/17 Page 3 of 6
Case 4:17-cv-00541-GKF-FHM Document 2-1 Filed in USDC ND/OK on 09/25/17 Page 4 of 6
Case 4:17-cv-00541-GKF-FHM Document 2-1 Filed in USDC ND/OK on 09/25/17 Page 5 of 6
Case 4:17-cv-00541-GKF-FHM Document 2-1 Filed in USDC ND/OK on 09/25/17 Page 6 of 6
